Case 1:14-ml-02570-RLY-TAB Document 22521 Filed 08/11/22 Page 1 of 5 PageID #:
                                 132833



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION             MDL No. 2570
_________________________________________

This Document Relates Only to the Following Case:

Coreas, Sarah, 1:20-cv-01012
_________________________________________




              COOK DEFENDANTS’ MOTION FOR JUDGMENT IN
           PLAINTIFF SARAH COREAS’S CASE PURSUANT TO CMO-28
Case 1:14-ml-02570-RLY-TAB Document 22521 Filed 08/11/22 Page 2 of 5 PageID #:
                                 132834



       Under Fed. R. Civ. P. 12(c) and CMO-28 (Dkt. 14601, ¶¶ 4-7), the Cook Defendants move

for judgment in Plaintiff’s case, which alleges as her injury an open filter removal, as well as an

earlier attempted retrieval and various asymptomatic injuries.

       1.      Plaintiff’s Name: Teresa Hrachovina, as Guardian of Sarah Coreas

       2.      Case Number: 1:20-cv-01012

       3.      Case Origin: Filed in the Southern District of Indiana on March 31, 2020

       4.      Plaintiff’s Home State per Complaint: Texas (Plaintiff’s current residence, location
               of injury, and residence at time of filter placement).

       5.      Applicable Choice of Law Rules: Texas

       6.      Applicable Statute of Limitations: Texas (2 years), Tex. Civ. Prac. & Rem. Code
               § 16.003 (“[A] person must bring suit for … personal injury … no later than two
               years after the cause of action accrues.”).

       7.      Filter Placement Date: October 29, 2010

       8.      Latest Possible Date of Accrual: May 3, 2016 (see Categorization Medical Record
               attached as Exhibit A and filed under seal noting: “Attempts were made at
               retrieving [the filter] endovascularly but they were unsuccessful. . . . After informed
               consent was obtained from the patient’s mother, . . . [a] lateral cavotomy was made
               over the level of the filter. The filter was grasped and extracted.”). 1

       9.      Length of Time Between Claim Accrual and Filing: 3 years, 10 months, 28 days

       10.     Length of Time Between Placement and Filing: 9 years, 5 months, 2 days

       Texas law bars Plaintiff’s personal injury claims because she filed her case more than two

years after she underwent an open surgery to remove the filter. See supra, ¶¶ 3, 8-9. Under Texas’s

discovery rule, the limitations period accrues when “the plaintiff discovers or should have

discovered, in the exercise of reasonable care and diligence, the nature of the injury.” Willis v.



1
  The Court may consider categorization forms and supporting records on a 12(c) motion when reviewing
a CMO-28 motion. See Dkt. 18018 (granting motion filed under CMO-28 and stating “Plaintiff’s operative
report is considered part of the pleadings . . . .”).


                                                -2-
Case 1:14-ml-02570-RLY-TAB Document 22521 Filed 08/11/22 Page 3 of 5 PageID #:
                                 132835



Maverick, 760 S.W.2d 642, 644 (Tex. 1988). A plaintiff need not discover all the elements of a

cause of action for the limitations period to begin; rather, Texas’s “discovery rule speaks only of

discovery of the injury.” Coody v. A.H. Robins Co., Inc., 696 S.W.2d 154, 156 (Tex. Ct. App.

1985). Courts applying Texas law have held that the removal of a medical device is sufficient to

begin the limitations period as a matter of law. See Shepherd v. Danek Med., 1999 WL 1129705,

at *1 (S.D. Tex. Aug. 13, 1999) (“[A]ny arguable application of the ‘discovery rule’ would

terminate upon removal of the System.”); Porter v. Danek Med., Inc., 1999 WL 1117090, at *1

(S.D. Tex. Aug. 16, 1999) (same).

         Here, Plaintiff presented with “worsening anemia with hemodynamic instability,” which

prompted a CT scan that “demonstrated fluid in the abdomen.” Ex. A. Based on these findings—

and “[a]fter a lengthy conversation with . . . and informed consent . . . from [Plaintiff’s] mother”—

Plaintiff underwent an open surgery to remove the filter on May 3, 2016. Id. During this open

removal procedure, Plaintiff’s filter was noted to have perforated the vena cava, causing abdominal

bleeding and fluid build-up. Id. This Court has dismissed cases under various states’ laws where

plaintiffs filed their cases more than two years after an open removal procedure. See e.g., Dkts.

18018 (Ohio law); 18365 (Arizona); 18542 (Georgia). The same principle applies under Texas

law. See Shepherd, 1999 WL 1129705, at *1; Porter, 1999 WL 1117090, at *1. Plaintiff here had

sufficient information “to make inquiry into the existence of a possible cause of action”—at the

latest—when she underwent the open surgery to remove her filter. See Dkt. 21814 at 3 (dismissing

case under Texas law where plaintiff commenced action more than two years after failed filter

retrieval). By the time Plaintiff filed her case on March 31, 2020, her personal injury claims were

barred by nearly two years.2


2
  The date of Plaintiff’s open removal surgery presents the latest date on which the limitations period began
to run. The operative report for Plaintiff’s open removal surgery notes that Plaintiff underwent at least one

                                                    -3-
Case 1:14-ml-02570-RLY-TAB Document 22521 Filed 08/11/22 Page 4 of 5 PageID #:
                                 132836



        Plaintiff’s implied warranty claim is also time-barred under Texas’s four-year statute of

limitations, which is measured from the date of delivery. See Tex. Bus & Comm. Code Ann. §

2.725. Here, Plaintiff filed this action over nine years after receiving her filter. Supra, ¶¶ 3, 7, 10.

        Plaintiff’s consumer protection and express warranty claims fail as well. The Court has

ruled that these claims are not adequately pled in the Master Complaint. See Dkt. 14809 at 10

(“Plaintiff’s vague and generalized allegations fail to provide any details regarding the alleged

misrepresentations as required by Rule 9(b).”); Dkt. 4918 at 13-15 (finding that the Master

Complaint fails to plead an adequate claim for express warranty). Plaintiff’s Short-Form

Complaint does not add any substantive facts to save these claims. Thus, Plaintiff has failed to

plead a viable state consumer-protection claim or a viable express warranty claim. Plaintiff’s claim

for punitive damages fails as derivative.




failed endovascular filter retrieval prior to May 3, 2016. Ex. A. (noting that “[a]ttempts were made at
retrieving [the filter] endovascularly but they were unsuccessful” and that Plaintiff developed anemia “[i]n
the ensuing days” after the retrieval attempt). This Court has already held under Texas law that a failed
retrieval attempts provides sufficient notice to begin the limitations period as a matter of law. See Dkt.
21814 at 3.

                                                   -4-
Case 1:14-ml-02570-RLY-TAB Document 22521 Filed 08/11/22 Page 5 of 5 PageID #:
                                 132837



                                                  Respectfully submitted,


Dated: August 11, 2022                            /s/ Jessica Benson Cox
                                                  Jessica Benson Cox
                                                  Andrea Roberts Pierson
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                                  300 North Meridian Street, Suite 2500
                                                  Indianapolis, Indiana 46204
                                                  Telephone: (317) 237-0300
                                                  Andrea.Pierson@FaegreDrinker.com
                                                  Jessica.Cox@FaegreDrinker.com

                                                  James Stephen Bennett
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                                  110 West Berry Street, Suite 2400
                                                  Fort Wayne, Indiana 46802
                                                  Telephone: (260) 424-8000
                                                  Stephen.Bennett@FaegreDrinker.com

                                                  Attorneys for Defendants Cook Incorporated,
                                                  Cook Medical LLC, and William Cook Europe
                                                  ApS

                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2022, a copy of the foregoing COOK DEFENDANTS’

MOTION FOR JUDGMENT IN PLAINTIFF SARAH COREAS’S CASE PURSUANT TO

CMO-28 was filed electronically, and notice of the filing of this document will be sent to all parties

by operation of the Court’s electronic filing system to CM/ECF participants registered to receive

service in this matter. Parties may access this filing through the Court’s system.



                                                      /s/ Jessica Benson Cox




                                                -5-
